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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

VS.                                  4:06-CR-00284-01-BRW

ANDRE SAIN                                                                      DEFENDANT

                                           ORDER

       Pending is the United States’ Motion for Destruction of Firearms (Doc. No. 200).

       The Government requests permission to destroy the Kimber .45 caliber handgun with

Serial Number K162588, the Savage .20 gauge shotgun with Serial Number SHC318720, and

various ammunition that was seized from Defendant’s residence by the Federal Bureau of

Investigations. According to the Government, federal law prohibits returning the weapons to

Defendant because he was convicted of a felony on October 30, 2009.

        For good cause shown, the Motion is GRANTED. Accordingly, the Government is

directed to destroy the following evidence seized from Defendant’s residence:

       •       One Kimber .45 caliber handgun with Serial Number K162588;

       •       One Savage .20 gauge shotgun with Serial Number SHC318720; and

       •       All ammunition seized during the investigation.


       IT IS SO ORDERED this 9th day of May, 2013.



                                                /s/Billy Roy Wilson
                                          UNITED STATES DISTRICT JUDGE
